Case 3:24-cv-00103-ART-CLB Document 44-4 _ Filed 03/28/25 Pagei1of5

EXHIBIT L

UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

Drew J. Ribar,
Plaintiff,

Vv.

State of Nevada ex rel. Nevada Department of Corrections, Carson City, et al.,
Defendants.

Case No. 3:24-cv-00103-ART-CLB

EXHIBIT L — Social Media Deletion Log and Blocked Accounts List

(Bates Nos. EX029-EX030)
Filed in Support of Amended Complaint and Summary Judgment Motion (Fed. R. Civ. P.

56)

Plaintiff Drew J. Ribar, pro se, submits Exhibit L, comprising two Excel spreadsheets obtained
via public records request from Carson City: (1) a Social Media Deletion Log of 33 comments on
Carson City Sheriff's Office (CCSO) and Public Works Facebook pages from January 22-23,
2024 (Bates EX029), and (2) a Blocked Accounts List from various Carson City social media
pages (Bates EX030). Filed manually as Excel files per LR IC 2-2 with a Notice of Manual
Filing, this exhibit stands alone as evidence of Defendants’ post-dismissal censorship, while
cross-referencing Exhibits C, D, E, F, H, I, J, and K to support Plaintiff's claims and Rule 56

motion.

PLEADING TITLE - |

Case 3:24-cv-00103-ART-CLB Document 44-4 Filed 03/28/25 Page 2of5

Section

Deletion
Log
(Bates

EX029)

Blocked

Accounts

Key Evidence and Legal Violations

Incident Legal Relevance

First Amendment retaliation

— censorship of public
CCSO deletes 33

criticism (Knight First
comments (1/22-

Amendment Inst. v. Trump, 928
1/23/2024): 28 by Plaintiff

F.3d 226 (2d Cir. 2019);
alleging Deputy Bueno’s

Davison v. Randall, 912 F.3d
“illegal arrest” and

666 (4th Cir. 2019);
“hotbox torture” (Exhibit

Packingham y. North Carolina,
C video linked), 5 by

582 U.S. 98 (2017)); Monell
others (e.g., Eric Brainer:

custom of suppressing dissent
“attempted murder’’):

post-arrest (Exhibit F) and
Plaintiff threatens lawsuit

dismissal (Exhibit K); ties to
for censorship (1/22/2024,

retaliation for recording (Nieves
15:22:00),

v. Bartlett, 139 8S. Ct. 1715

(2019)).
CCSO blocks Plaintiff's First Amendment violation —
“Audit Reno” channel; blocking public forum access

others blocked across city (Packingham, Davison),

PLEADING TITLE - 2

Cross-Reference

Exhibit C
(01:01:40,583,
01:05:13.333): Exhibit
D (0:20:56); Exhibit E
(0:01:04 -0:01:20);
Exhibit F (EX001—
EX002); Exhibit J
(EX027); Exhibit K

(E-X028)

Exhibit E (0:01 :04—
0:01:20); Exhibit J

(EX027)

Case 3:24-cv-00103-ART-CLB Document 44-4 Filed 03/28/25 Page 3of5

(Bates

Section Incident Legal Relevance Cross-Reference

EX030) —_ Health). 668 (1996)); Monell policy of

pages (e.g., Public Works, retaliation (Umbehr, 518 U.S.

city-wide censorship; economic
harm to A&A Towing (Meyer v.

Nebraska, 262 U.S. 390 (1923)).

Legal

Claims Supported

First Amendment (42 U.S.C. § 1983): Censorship and blocking for criticizing CCSO’s
actions (Exhibits F, J) violate public forum rights (Knight, Davison, Packingham,
Fordyce, Glik, Irizarry, Nieves, Umbehr, Mack).

Fourth Amendment: Ongoing retaliation post-dismissal (Exhibit K) continues malicious
prosecution (7hompson, Devenpeck, Soldal).

Fifth Amendment: Late Miranda warning (Exhibit D, 0:20:56), part of arrest context
fueling protected speech.

Eighth Amendment: Hothoxing as cruel and unusual punishment (Kingsley, Exhibit J,
EX027), censored from comment section.

Fourteenth Amendment: Due process violations in arrest, pretrial flaws (Exhibit H),
censorship (Mathews, Parratt, Meyer, Lewis).

Municipal Liability: CCSO/DA custom of retaliation via arrest (Exhibit F), indifference

(Exhibit J), abandoned prosecution (Exhibit K), and post-dismissal censorship (Exhibit

L), ratified across city agencies (Monell).
PLEADING TITLE - 3

Case 3:24-cv-00103-ART-CLB Document 44-4 _ Filed 03/28/25 Page 4of5

* State Law Claims: Oppression under color of law (NRS 197.200); interference with

economic advantage (28 U.S.C. § 1367).

Summary Judgment Purpose (Fed. R. Civ. P. 56)

Exhibit L’s censorship evidence (Bates EX029-EX030) proves Defendants’ ongoing retaliation
post-dismissal (Exhibit K), including deletion of Plaintiff's 28 comments and public critiques of
the arrest (Exhibit F) and hotboxing (Exhibit J), and blocking Plaintiff's “Audit Reno” channel.
Combined with Exhibits C-K, these undisputed facts—retaliation, pretextual charges, inhumane
treatment, and suppression of speech—violate clearly established law. No reasonable jury could
find Defendants’ actions justified, entitling Plaintiff to summary judgment on the amended

complaint.

Qualified Immunity Defeat

Defendants’ actions contravene clearly established rights (Pearson v. Callahan, 555 U.S. 223

(2009)):

¢ Violations: Recording retaliation (Fordyce, Glik, Irizarry, Nieves, Umbehr), censorship
(Knight, Packingham, Davison, Mack), malicious prosecution (7 hompson), due process
(Mathews, Parratt), inhumane treatment (Kingsley), and late Miranda (Miranda v.

Arizona).

PLEADING TITLE - 4

Case 3:24-cv-00103-ART-CLB Document 44-4 Filed 03/28/25 Page5of5

| ¢ Clearly Established: Rights defined pre-2022. Actions show objective unreasonableness

(Kingsley), not mere negligence. “Security risk” or “moderation” defenses fail under
3
Knight, Nieves, and Harlow (457 U.S. 800 (1 982)).
4
5
6

7 || Authentication

9 || Per Fed. R. Evid. 901, 1, Drew J. Ribar, declare under penalty of perjury this Social Media
Deletion Log (Bates EX029) and Blocked Accounts List (Bates EX030) were obtained via public
records request from Carson City and accurately reflect Defendants’ censorship actions from

January 22-23, 2024.

Dated: March 27, 2025

/s/ Drew J. Ribar

17 || Drew J. Ribar

18 || 3480 Pershing Ln, Washoe Valley, NV 89704

Tel: (775) 223-7899, Email: Const2 Audit@gmail.com

PLEADING TITLE - 5

